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         Attorneys for Defendant JPMorgan Chase Bank, N.A.


                               IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                         EUGENE DIVISION

Dennis Raybould,

                                   Plaintiff,                         Case No. 6:19-cv-01364-AA

         v.                                                           DEFENDANT JPMORGAN CHASE
                                                                      BANK, NATIONAL ASSOCIATION’S
RUSHMORE LOAN MANAGEMENT                                              REPLY IN SUPPORT OF MOTION TO
SERVICES, LLC;                                                        DISMISS AND REQUEST FOR
                                                                      JUDICIAL NOTICE
JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION, WHOSE ADDRESS IS 700
Kansas Lane, MC 8000, MONROE, LA 71203,
(ASSIGNOR),

RMAC TRUST, SERIES 2016-CTT,

U.S. BANK NATIONAL ASSOCIATION,
NOT IN ITS INDIVIDUAL CAPACITY BUT
SOLELY AS TRUSTEE FOR THE RMAC
TRUST, SERIES 2016-CTTT, whose address is
60 LIVINGSTON AVENUE, ST. PAUL, MN
55107-2292, ITS SUCCESSORS AND
ASSIGNS, (ASSIGNEE)

                                   Defendants.




Page 1 - DEFENDANT CHASE’S REPLY IN SUPPORT OF MOTION TO DISMISS AND RJN
                                                   DAVIS WRIGHT TREMAINE LLP
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         Defendant JPMorgan Chase Bank, N.A. (“Chase”) filed and served its Motion to Dismiss

plaintiff’s Complaint on September 13, 2019. Dkt. No. 10. Chase also filed a Request for

Judicial Notice on September 13, 2019. Dkt. No. 11. Plaintiff’s response to Chase’s Motion and

to the RJN was due on September 30, 2019, but plaintiff failed to file any response or

opposition.1 Plaintiff’s failure to respond constitutes a concession that Chase’s arguments have

merit. See Kozorezov v. Bank of Am., N.A., 2010 WL 5300561, *3 (W.D. Wash. 2010)

(“Plaintiffs failed to respond to those arguments, which the Court construes as a concession that

defendants’ arguments have merit.”); adidas Am., Inc. v. Payless Shoesource, Inc., 529 F. Supp.
2d 1215, 1258 (D. Or. 2007) (“By failing to respond to adidas’ legal abandonment argument,

Payless effectively concedes that adidas’ has not abandoned its rights in the Three–Stripe Mark

or its Superstar Trade Dress.”); Knapp v. JP Morgan Chase Bank, N.A., 2011 WL 2433644, *2

(E.D. Cal. 2011), report and recommendation adopted, 2011 WL 2433641 (E.D. Cal. 2011) (“By

failing to timely file supporting papers in response to the order, defendants have conceded the

propriety of injunctive relief.”). Further, it is not the Court’s responsibility to independently

investigate whether plaintiff may have been able to offer substantive opposition had he actually

responded (and plaintiff could not have done so—as described in Chase’s Motion, plaintiff has

already litigated and lost his claims). See, e.g., Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir.
1994) (“Judges are not like pigs, hunting for truffles buried in briefs.”); Lekas v. Briley, 405 F.3d

602, 614-15 (7th Cir. 2005) (“our judges are busy people” and “given plausible reasons for

dismissing a complaint, they are not going to do the plaintiff’s research and try to discover


1
  Plaintiff filed a purported Notice of Appeal on October 2, 2019. Dkt. No. 13. That Notice
purports to appeal this Court’s discovery and case management orders and two orders granting
extensions of time to respond to plaintiff’s Complaint. Id. (citing Dkt. Nos. 3, 5, 7, 9). None of
those orders is appealable, and all but the last order (granting additional time for defendants
Rushmore Loan Management Services, LLC and U.S. Bank National Association additional time
to respond to the complaint) were entered more than 30 days before the purported Notice of
Appeal, which is facially untimely. The Court should disregard the Notice of Appeal as
frivolous.

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whether there might be something to say against defendants’ reasoning”). Accordingly, the

Court should grant Chase’s Motion and RJN and dismiss plaintiff’s Complaint with prejudice as

barred by claim and issue preclusion and for failure to state any claim against Chase.

         DATED this 14th day of October, 2019.

                                      DAVIS WRIGHT TREMAINE LLP



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Page 3 - DEFENDANT CHASE’S REPLY IN SUPPORT OF MOTION TO DISMISS AND RJN
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                                    CERTIFICATE OF SERVICE

         I hereby certify that I served a copy of the foregoing DEFENDANT JPMORGAN

CHASE BANK, NATIONAL ASSOCIATION’S REPLY IN SUPPORT OF MOTION TO

DISMISS AND REQUEST FOR JUDICIAL NOTICE on:

                   Dennis Raybould
                   P.O. Box 241
                   Florence, OR 97431
                   (541) 997-1311
                   Plaintiff in Pro Se

               by mailing a copy thereof in a sealed, first-class postage prepaid envelope,
addressed to said attorney’s last-known address and deposited in the U.S. mail at Portland,
Oregon on the date set forth below;

             by causing a copy thereof to be hand-delivered to said attorney’s address as
shown above on the date set forth below;

               by sending a copy thereof via overnight courier in a sealed, prepaid envelope,
addressed to said attorney’s last-known address on the date set forth below;

                by faxing a copy thereof to said attorney at his/her last-known facsimile number
on the date set forth below; or

               by emailing a copy thereof to said attorney at his/her last-known email address as
set forth above.

              by using electronic transmission of a notice of filing by the electronic filing
system provided by the Oregon Judicial Department, Odyssey File and Serve.

         Dated this 14th day of October, 2019.

                                          DAVIS WRIGHT TREMAINE LLP



                                          By: s/ Kevin H. Kono
                                             Kevin H. Kono, OSB #023528
                                             Ashlee Aguiar, OSB #171940
                                             Of Attorneys for Defendant JPMorgan Chase, N.A.




Page 1 - CERTIFICATE OF SERVICE
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